Case 4:22-cv-05502-DMR   Document 295-8   Filed 01/02/25   Page 1 of 3




                           EXHIBIT C
                      TO
  DECLARATION OF STEVEN A. MILLS IN SUPPORT OF
DEFENDANTS’ MOTION TO DISMISS THE THIRD AMENDED
                  COMPLAINT
    Case 4:22-cv-05502-DMR                  Document 295-8                 Filed 01/02/25            Page 2 of 3


From:           Mills, Steven (CAT)
To:             "John Do"; Vivake Prasad; Murphy, Kaitlyn (CAT); Bill Freeman; Andrew Ntim; Nisha Kashyap; Scout Katovich;
                Vasudha Talla; Zoe Salzman; Bianca Herlitz-Ferguson
Cc:             George, John (CAT); Wang, Edmund (CAT); Gradilla, Miguel (CAT)
Subject:        RE: CoH v CCSF -service of subpoenas
Date:           Friday, December 13, 2024 5:03:20 PM
Attachments:    image004.png



Thanks, John. We will deem those two subpoenas as being accepted today.

In my email from December 9, we followed up on an outstanding request for more contact
information for the individuals on the initial disclosure and likely trial list. No contact
information was provided for many individuals and almost all phone numbers are
disconnected. Have plaintiffs provide all that is known?


Steven Mills
Deputy City Attorney
Office of City Attorney David Chiu
(415) 355-3304 Direct
www.sfcityattorney.org

From: John Do <jdo@aclunc.org>
Sent: Friday, December 13, 2024 4:43 PM
To: Vivake Prasad <VPrasad@ecbawm.com>; Murphy, Kaitlyn (CAT)
<Kaitlyn.Murphy@sfcityatty.org>; Bill Freeman <wfreeman@aclunc.org>; Andrew Ntim
<antim@lccrsf.org>; Nisha Kashyap <nkashyap@lccrsf.org>; Scout Katovich <skatovich@aclu.org>;
Vasudha Talla <vtalla@ecbawm.com>; Zoe Salzman <zsalzman@ecbawm.com>; Bianca Herlitz-
Ferguson <bherlitz-ferguson@ecbawm.com>
Cc: George, John (CAT) <John.George@sfcityatty.org>; Mills, Steven (CAT)
<Steven.Mills@sfcityatty.org>; Wang, Edmund (CAT) <Edmund.Wang@sfcityatty.org>; Gradilla,
Miguel (CAT) <Miguel.Gradilla@sfcityatty.org>
Subject: CoH v CCSF -service of subpoenas

Counsel,

Please know that we can accept service for Sarah Stephenson and James Reem from our Initial
Disclosures and Likely Witness List. We will continue to update you on the remainer of the
list. Thank you.

Regards,

                      JOHN THOMAS H. DO
                      SENIOR ATTORNEY
                      RACIAL & ECONOMIC JUSTICE PROGRAM


                      39 DRUMM ST., SAN FRANCISCO, CA 94111
                      415-293-6333 | JDO@ACLUNC.ORG | HE/HIM
      Case 4:22-cv-05502-DMR                          Document 295-8                   Filed 01/02/25              Page 3 of 3




From: Vivake Prasad <VPrasad@ecbawm.com>
Sent: Friday, December 6, 2024 3:24 PM
To: Murphy, Kaitlyn (CAT) <Kaitlyn.Murphy@sfcityatty.org>; John Do <jdo@aclunc.org>; Bill
Freeman <wfreeman@aclunc.org>; Andrew Ntim <antim@lccrsf.org>; Nisha Kashyap
<nkashyap@lccrsf.org>; Scout Katovich <skatovich@aclu.org>; Vasudha Talla
<vtalla@ecbawm.com>; Zoe Salzman <zsalzman@ecbawm.com>; Bianca Herlitz-Ferguson <bherlitz-
ferguson@ecbawm.com>
Cc: George, John (CAT) <John.George@sfcityatty.org>; Mills, Steven (CAT)
<Steven.Mills@sfcityatty.org>; Wang, Edmund (CAT) <Edmund.Wang@sfcityatty.org>; Gradilla,
Miguel (CAT) <Miguel.Gradilla@sfcityatty.org>
Subject: CoH v CCSF - Plaintiffs' Categorical Privilege Log

Counsel,

Following the discussion at the court conference this week regarding Defendants’ service of notices
or subpoenas on Coalition members, you may send those to us in the first instance and we will let
you know if for some reason we cannot accept service.

In addition, please find a categorical privilege log attached.

Best,
Vivake

Vivake Prasad
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New York, NY 10020
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